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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

 IN RE: CAPITAL ONE CONSUMER DATA
 SECURITY BREACH LITIGATION                                MDL No. 1:19md2915 (AJT/JFA)




                            MEMORANDUM IN SUPPORT OF
                       PLAINTFFS’ MOTION TO FILE UNDER SEAL

        Pursuant to Local Rule 5, Plaintiffs request that the Court seal Exhibits 1-13 and portions

 of the Memorandum in Support of Plaintiffs’ Motion to Compel Production of Mandiant Report

 and Related Materials (“Memorandum”), which cites to and incorporates information from

 Exhibits 1-13, which are documents produced by the Capital One Defendants and designated

 “Confidential” or “Confidential – Outside Counsel Only” pursuant to the Amended Stipulated

 Protective Order (Dkt. 368).

        Before this Court may seal documents, it must: “(1) provide public notice of the request to

 seal and allow interested parties a reasonable opportunity to object, (2) consider less drastic

 alternatives to sealing the documents, and (3) provide specific reasons and factual findings

 supporting its decision to seal the documents and for rejecting the alternatives.” Ashcroft v Conoco,

 Inc., 218 F.3d 288, 302 (4th Cir. 2000). Plaintiffs request the filing under seal of the following

 Exhibits to their Memorandum because the Exhibits are documents produced by the Capital One

 Defendants and designated as either “Confidential” or “Confidential – Outside Counsel Only”

 pursuant to the Amended Stipulated Protective Order governing this matter:

        •   Exhibit 1, CAPITALONE_MDL_000258939;

        •   Exhibit 2, CAPITALONE_MDL_000097222;
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        •   Exhibit 3, CAPITALONE_MDL_000185309;

        •   Exhibit 4, CAPITALONE_MDL_000115137;

        •   Exhibit 5, CAPITALONE_MDL_000100994;

        •   Exhibit 6, CAPITALONE_MDL_000247842;

        •   Exhibit 7, CAPITALONE_MDL_000248419;

        •   Exhibit 8, CAPITALONE_MDL_000251578;

        •   Exhibit 9, CAPITALONE_MDL_000097216;

        •   Exhibit 10, CAPITALONE_MDL_000232681;

        •   Exhibit 11, CAPITALONE_MDL_000172998;

        •   Exhibit 12, CAPITALONE_MDL_000086014;

        •   Exhibit 13, Capital One’s Amended Responses to Plaintiffs’ First Interrogatories.

        Further, Plaintiffs request that portions of the Memorandum which quote or incorporate

 Exhibits 1-13 be filed under seal because the information contained in these Exhibits was produced

 by the Capital One Defendants as “Confidential” or “Confidential – Outside Counsel Only”

 pursuant to the Amended Stipulated Protective Order governing this matter.

        The sealing of these Exhibits and the related portions of the Memorandum is the only

 practicable way to prevent public disclosure of the Confidential material contained therein.

 Plaintiffs cannot publicly share the information without violating the Amended Stipulated

 Protective Order. Thus, there is no less drastic alternative to sealing.

        For these reasons, Plaintiffs respectfully request that this Court enter an order provisionally

 sealing Exhibits 1-13 and the designated portions of the Memorandum.
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 DATED: April 24, 2020              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 24, 2020, I electronically filed the foregoing document with

 the Clerk of the Court using the CM/ECF system, which will send notice of electronic filing to all

 counsel of record.



                                              /s/ Steven T. Webster
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